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                           UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                         No. 2:12-md-02323-AB
IN RE: NATIONAL FOOTBALL
                                                         MDL No. 2323
LEAGUE PLAYERS’ CONCUSSION
INJURY LITIGATION                                        Hon. Anita B. Brody


Kevin Turner and Shawn Wooden,                           Civ. Action No. 14-00029-AB
on behalf of themselves and
others similarly situated,
           Plaintiffs,

                v.

National Football League and
NFL Properties LLC,
successor-in-interest to
NFL Properties, Inc.,
           Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


  MOTION OF CO-LEAD CLASS COUNSEL ANAPOL WEISS FOR A HEARING TO
   SEEK COURT INTERVENTION ON THE PROCESSING OF CERTAIN CLAIMS


       Undersigned Co-Lead Class Counsel, Anapol Weiss respectfully submits this Motion for

a Hearing to compel the Claims Administrator to rule on claims and establish a more stream-

lined process for determining retired players’ claims.

       As specified below, claims involving Dementia and Alzheimer’s Disease have been

unreasonably and inexcusably delayed, from the instance the Claims Administrator began

accepting applications for compensation. Class member Wayne Radloff and his wife, who were

in the group of players that first sued the NFL in this Court, have not had their claim fairly and
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promptly assessed and resolved. The Radloffs have agreed to waive confidentiality of Wayne’s

medical records for the benefit of all class members in order to highlight in this Motion the harm

they have suffered. [Exhibit A – Radloff Declaration.] The grounds for this Motion are set

forth as follows [Exhibit B – Pepin Declaration]:

1. In November 2017, the Court received a “Joint Status Report” detailing certain facts

   regarding the implementation of the Settlement Program. [ECF No. 8881]

2. For some odd reason, this Report stated that the Claims Process “opened on March 23,

   2017”. In fact, your movant and others first submitted their Registration Forms on February

   14, 2017. Confirmation by the Settlement Administrator of movant’s Registration was sent

   on March 23, 2017.

3. In this Report, it was represented to the Court that as of November 2017, ten months after

   Registration opened, over 1400 Retired NLF players had submitted Claim Packages.

   However, only 140 players had received compensation for the harm they had suffered or

   10% of those players who had submitted claim packages. Using simple math, only 14

   players a month have been approved for a cash award.

4. This Report noted that the NFL had, as of that date, initiated 40% of the appeals of the

   Settlement Administrator’s (SA) determinations.

5. As a class member and an injured player, Wayne Radloff brings this Motion on his behalf

   and on behalf of other retired players who question the efficacy and fairness of procedures

   established that do not appear in the four corners of the Settlement Agreement, as well as the




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    below listed bureaucratic procedures without providing appropriate notice to retired players

    or their counsel.1

6. Wayne Radloff played for the Atlanta Falcons in the years 1985- 1989. He then played for

    the San Francisco 49ers in 1990 and 1991.

7. Mr. Radloff suffered multiple concussive and sub-concussive injuries.

8. Mr. Radloff retired from the NFL when he was 30 years old.

9. In 2003, Mr. Radloff began treating with Dr. Bozeman Sherwood for “increasing

    difficulty . . . with ability to focus, memory loss and overall ability to concentrate. . . . The

    worsening of his condition has led to depression which is causing further deterioration.”

    [Claim Package Doc ID #112721.]

10. Dr. Sherwood’s diagnosis and treatment of Mr. Radloff between 2002 and 2009 was

    documented in a filing identified as Claim Package Doc ID #124482. Dr. Sherwood

    informed the SA that he referred Mr. Radloff to a neurologist, Dr. George Warner. Id. Dr.

    Sherwood further advised the SA that the patient records for Mr. Radloff were no longer

    available because he moved his practice to another state and did not secure those records.

    [Claim Package Doc ID #132890.]

11. Dr. George Warner prepared and signed the Pre-Effective Date Diagnosing Physician

    Certification Form [Claim Package Doc ID #58761] in which he provided a diagnosis of

    Alzheimer’s Disease beginning in 2003. Further, Dr. Warner’s records were submitted to the

    SA as Claim Package Doc IDs #58762, 78369 and 120848.




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        For example, on January 18, 2018, a document was published entitled “Rules Governing
Statute of Limitations Proceedings”. These rules were published without prior Notice to Class
members who were, therefore, deprived of any opportunity to comment upon them.
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12. The medical records of Dr. Warner, a Board-Certified Neurologist, contain the following

   pertinent history: [3/10/2010]




13. A week later, Dr. Warner saw Mr. Radloff again and made the following entries in his

   medical chart:




14. Additional records from Dr. Warner include Claim Package Doc ID #58762 which states in

   pertinent part:




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15. On February 14, 2017, Mr. Radloff and his wife registered to participate in the Settlement.

   [Claim Package Doc ID #16896.]

16. A month and a half later, on March 23, 2017, the SA acknowledge the Radloffs’ registration.

   [Claim Package Doc ID #44309.]

17. On April 14 and April 18, 2017, the Radloffs filed the records of Dr. Warner, his physician

   certification and requested authorization forms. [Claim Package Doc IDs #58761, 59714,

   59718.]

18. Sixty days later, on June 9, 2017, the SA sent a “notice of deficiency” stating that there was

   an “invalid signature”, and the medical records did not reflect a qualifying diagnosis to 2003.

   [Claim Package Doc ID #78270.]

19. In response, on June 9, 2017, the Radloffs filed signatures as requested. [Claim Package Doc

   ID #78368.] The Radloffs also filed a letter from Dr. Sherwood [Claim Package Doc ID

   #112721] confirming his treatment of Wayne Radloff for the past 5 to 7 years for increasing

   difficulty with focus, memory loss and concentration, which has worsened and led to

   depression.

20. The SA remained silent for several months. In August 2017, the Radloffs, in an attempt to

   wake up the SA filed additional supporting records including a NFL Physician Report from

   Dr. Robert Gilbert, a neurologist hired to assess Mr. Radloff’s disability claim. Dr. Gilbert

   wrote [Claim Package Doc ID #120846] that Mr. Radloff was disabled because he has

   undergone “clinical deterioration in cognitive skills, hippocampal atrophy on MRI scan

   suggest dementia probably related to prior concussions.”




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21. On August 30, 2017, the Radloffs submitted a report from Dr. Warner [Claim Package Doc

   ID 120848] confirming his opinion that Mr. Radloff has been suffering from Dementia of the

   Alzheimer’s type since 2003.

22. During September and October 2017, the Radloffs filed additional documentation detailing

   Wayne’s medical diagnosis and also advising that the office records kept by Dr. Sherwood

   no longer existed. [Claim Package Doc ID #130675 and 132890.]

23. Aside from acknowledging the uploading of these materials referenced in paragraphs 19 to

   22, the SA continued its silence through the beginning of November 2017. In other words,

   between June and November 2017, the SA essentially ignored the Radloffs’ filings.

24. On November 1, 2017, the Radloffs’ counsel wrote the SA as follows:

          “As you know, this office represents the families of Mr. Montgomery, Mr. Duranko
          and Wayne Radloff and his wife. We have been extremely patient in addressing the
          several inquiries your office has made in responding to our claims. Nevertheless,
          over the past 60 days we have been troubled by the absence of evidence that these
          claims are being processed expeditiously. We would prefer to avoid alert the Court to
          the extraordinary delays that have transpired, but unless your office provides some
          reassurance that the end is near, we will take appropriate steps to move things along.
          We hope you appreciate the patience we have shown and that a prompt response will
          be forthcoming.”

25. On November 2, 2017, the SA responded by writing:
          We understand your concerns and share your desire to resolve the claims
          expeditiously. Unfortunately, each of these claims requires an exception under
          Section 8.2 of the Settlement Agreement. Where the express requirements in
          Sections 8.2(a)(i)-(iii) are not met, we present the claim to the Parties to consider
          whether we can apply an exception anyway. We cannot unilaterally ignore the
          language in the Settlement Agreement. We have presented each of these claims to
          the Parties for their consideration. In our summaries, we explained what documents
          have been submitted, what is missing and why the express Settlement Agreement
          requirements are not met.
          Radloff (SPID 100012465): We cannot accept the 2003 diagnosis date on Dr.
          Warner’s DPC because we have no 2003 records from him or any other doctor.
          Section 8.2(a)(iii) requires that the doctor who signs the DPC review records of an
          earlier diagnosing physician, if the diagnosis date on the DPC is based on those

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              records/that earlier diagnosis. The earliest records we have from Dr. Warner indicate
              a 2010 diagnosis. We cannot excuse the 2003 records under Section 8.2(a)(ii)
              because Mr. Radloff is still alive, and that exception only applies to Representative
              Claimants of deceased Retired NFL Football Players.

              After we receive guidance from the Parties, we will process each claim accordingly.
              We do hope to have this guidance fairly soon but are not able to provide a timeframe.
              We appreciate your continued patience on these claims and please know that we are
              doing our best to get them addressed. We have forwarded your 11/1/17 email to the
              Parties and you are free to contact them directly on this issue.



26. This November 2, 2017 email from the SA was the first notice received by Mr. and Mrs.

    Radloff and other clients that there was some interpretative argument (by an unknown party)

    that the retired player’s medical records furnished 6 months earlier did not comport with the

    terms of the settlement agreement.

27. On November 21, 2017, three weeks after the November 2nd email (above), we were

    informed that the “interpretive issue” was forwarded to “the parties”.2

28. Several weeks later, on December 11, 2017, we contacted the SA and were informed that the

    Radloffs had “qualified for an exception to Section 8.2(a)”. We were further advised that

    “now the SA would move forward in the claims review process”. Nothing was posted to the

    portal.

29. On January 4, 2018, because we had not received any further word from the SA, we asked

    for an update on the claims of the Radloffs and several other similarly situated players. No

    response was provided.




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       Such submissions are apparently transmitted in secret. The players have no information
as to what the SA tells “the parties’, who are “the parties” or who is responsible for deciding the
issue.
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30. On January 17, 2018, we again contacted the SA and asked for a status on these claims. The

   SA responded by writing: “finalizing our review. Can you confirm for us when Dr. Warner

   first received the referral to treat the Player and when he first started treating the Player”?

31. Immediately after receipt of this (incredulous) January 17, 2018 email from the SA, we sent

   an email advising that Wayne first saw Dr. Warner (as documented in records you have had

   for over 6 months) on March 10, 2010 and then continued treating with him per the records.

32. Three weeks later, on February 2, 2018 we wrote again to ask about the status of this claim.

   The SA did not respond.

33. On March 1, 2018, we wrote again to ask of the status of the claim; the SA responded by

   indicated it would “get back to you”.

34. As of the date of the filing of this Motion, we have not heard further from the SA aside from

   a vague comment via telephone that this claim was sent to an “AAP member for review”.

   That same comment was confirmed in an email that is attached as Exhibit C - email.

35. The Settlement Agreement, once publicized by counsel as a unique, ground-breaking

   resolution that would be easy to implement has been anything but that. It has failed to live

   up to the promise of providing tangible benefits to the Class. Class members including the

   Radloffs have lived with the disappointment of inexcusable and unexplained delay for more

   than a year.

36. The publicly available information shows that claims paid are de minimis compared to the

   projections promised by the NFL and co-lead Class Counsel Seeger Weiss. In a sworn

   affidavit, submitted by attorney Christopher Seeger in support of common benefit fees

   (opposed by members of the Plaintiffs’ Executive Committee and the Plaintiffs’ Steering

   Committee) states that 202 players/player families have been awarded compensation



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    compared to the “submission” of 2842 claims (1542 claims submitted and more than 1300 in

    various stages of proceedings) - that’s merely 7% of the players who have filed claims for

    compensation. [See Seeger’s affidavit, ¶ 3.]

37. The fact that only 7% of the players and families of players who have filed for compensation

    have received payments is evidence enough for the Court to hold a public hearing so that the

    SA can discuss the seemingly insurmountable hurdles facing injured class members. This

    undeniable statistic raises the very important question: “what other retired player and his

    family have been waiting a year and have been given the same run-around”?

38. The claims process for Mr. Radloff has evolved into a thicket of privately litigated, changing

    standards for claim packages, unpredictable and changing standards of review that is not

    what the Settlement Agreement promised retired players.3 Within this Settlement, the NFL

    appears to have employed the same tactics case by case, player by player that it has used in

    the processing of player claims for disability benefits under the Collective Bargaining

    Agreements. On information and belief, this is the NFL modus operandi to delay payments

    and frustrate the players and their families, hoping they will give up.

39. We respectfully submit that one of the two co-lead counsel cannot alone objectively assess

    the trajectory of the Settlement and the unreasonableness of the delays incurred. The




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        The lack of transparency has been self-evident. Here are examples: (1) after 6 months of
waiting for the approval of their claim, the Radloff’s were told by the SA that their application
did not comport with Section 8(a) of the Agreement; yet, until informed of this construction of
the agreement, they were given no notice. Then, upon notice, they were told the parties would
take up this issue and the Radloffs were not given an opportunity to address this issue. (2) After
they received notice that an “exemption” was granted to this section of the agreement, they were
told that their claim was unsupportable because their treating neurologist could not rely upon the
opinions of the referring doctor to date Mr. Radloff’s Alzheimer’s diagnosis to a date before the
neurologist began treatment. This disclaimer came without any opportunity to learn who made
that decision.
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   Settlement proceedings have morphed into a maze of bureaucratic hurdles dictating that any

   player who seeks compensation cannot possibly survive and succeed without a legal

   advocate.

40. The class members and their families have waited years to obtain fair compensation for the

   trauma and neuro-cognitive disorders they have suffered at the hands of a multi-billion-dollar

   conglomerate that took their safety and health for granite. Now, despite the brave action of

   thousands of players who challenged the most powerful sports industry in the world, and

   won, are losing again!

41. Respectfully, this Court must embrace its role as the guardian of this settlement agreement

   and rectify the continuing problems of delay and denial so that class members can finally

   obtain fair compensation.

       WHEREFORE, the undersigned counsel on behalf of the Radloff family and all other

class members seek a public hearing before this Court to enforce the settlement and

compensation plan in a manner that the Court determines is in the best interest of the class absent

the encumbrances faced by the players to date.



       DATED:         March 19, 2018

                                             Respectfully submitted,
                                             /s/ Larry E. Coben_____
                                             ANAPOL WEISS
                                             Larry Coben
                                             Sol Weiss.
                                             Attorneys for Plaintiffs’ Radloff




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this date a true and correct copy of the foregoing motion, along

with the accompanying memorandum of law, proposed order, declaration and exhibits were

served via the Electronic Filing System to all counsel of record, Case no. 2:12-md-02323-AB,

MDL No. 2323.



DATE:          March 19, 2018

                                                      /s/ Larry E. Coben
                                                      Larry Coben
                                                      Counsel for Radloffs




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